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13                          UNITED STATES DISTRICT COURT

14                      CENTRAL DISTRICT OF CALIFORNIA

15
16   MICHAEL ARCHER; and TODD              Case No. 2:24-cv-10744-AB-JC
     COHN, individually and on behalf of
17   all others similarly situated,
18            Plaintiffs,                  PLAINTIFFS’ MEMORANDUM OF
19                                         LAW IN OPPOSITION TO MOTION
     v.                                    TO DISMISS
20
21   NBCUNIVERSAL MEDIA, LLC
22   and    UNIVERSAL PICTURES
     HOME ENTERTAINMENT LLC
23   d/b/a GRUV.COM,

             Defendants.
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 1         Plaintiffs respectfully submit this memorandum of law in opposition to

 2 Defendants’ Motion to Dismiss Class Action Complaint, ECF No. 25.

 3                                  I.    INTRODUCTION

 4         Plaintiffs bring a single claim against Defendants for violating the Video Privacy

 5 Protection Act, 18 U.S.C. § 2710 (“VPPA”). When Plaintiffs and other consumers

 6 requested or obtained videos from gruv.com, an e-commerce website that sells pre-

 7 recorded video materials, Defendants sent their personally identifiable information

 8 (“PII”) to Meta Platforms, Inc. (“Meta”) in violation of the VPPA.            Id. ¶¶ 1-3.

 9 Defendants now move to dismiss the FAC, asserting that: 1) Plaintiffs do not allege

10 the disclosure of PII as defined by the VPPA; 2) Plaintiffs are not “consumers” within

11 the meaning of the VPPA; and 3) Plaintiffs do not allege that Defendants “knowingly”

12 disclosed identifying information of qualifying “purchasers.”

13         Defendants’ arguments are without merit. In moving to dismiss, Defendants

14 distort a law designed to protect consumers’ “reasonable expectation of privacy” in

15 what “we watch with our family in our own homes,” 134 Cong. Rec. S5397-01, 1988

16 WL 170802 (Sen. Patrick Leahy’s Statement on Introduced Bill), into one that

17 overlooks companies like Defendants who intentionally trade in their consumers’

18 private viewing habits for profit. That outcome is not supported by the text or spirit of

19 the VPPA or the caselaw interpreting it. For the reasons discussed below, Defendants’

20 motion should be swiftly denied.

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 1                            II.    RELEVANT BACKGROUND

 2 A.       Statutory Background

 3         The Video Privacy Protection Act (VPPA) was enacted in 1988 “to extend

 4 privacy protection to records that contain information about individuals.” S. REP. 599,

 5 2, 1988 U.S.C.C.A.N. 4342-1, 4342-1. As the legislative history explains, the VPPA

 6 was drafted in response to a disclosure of Judge Robert Bork’s video rental history, as

 7 Congress wished to “allow[] consumers to maintain control over personal information

 8 divulged and generated in exchange for receiving services from video tape service

 9 providers.” Id. at 8. Its substantive provisions prohibit a provider of prerecorded videos

10 from knowingly disclosing “personally identifying information” concerning any

11 “consumer” to a third party without the consumer’s “informed, written consent” and

12 the opportunity to opt out. 18 U.S.C. § 2710.

13         The VPPA was drafted with the expansion of technological tracking of

14 consumers in mind. Congress was concerned that in a technological era in which

15 consumer activities are “all lodged together in computers, it would be relatively easy

16 at some point to give a profile of a person and tell what . . . sort of television programs

17 they watch,” which members likened to “Big Brother.” Id. at 5–6. The Senate Report

18 also cited Supreme Court opinions in which the Court “warned of the danger that new

19 technologies would chip away at traditional privacy safeguards” and of “the threat to

20 privacy implicit in the accumulation of vast amounts of personal information in

21 computerized data banks.” Id. at 4–5 (citations omitted).
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 1         As such, “[t]he VPPA does not protect only against harms such as

 2 embarrassment and harassment. . . . Rather, the statute also protects privacy interests

 3 more generally by ensuring that consumers retain control over their personal

 4 information.” Id. That is, because the VPPA “identifies a substantive right to privacy

 5 that suffers any time a video service provider discloses otherwise private information,”

 6 every violation “presents the precise harm and infringes the same privacy interests

 7 Congress sought to protect by enacting the VPPA.” Eichenberger v. ESPN, Inc., 876

 8 F.3d 979, 983–84 (9th Cir. 2017) (citation omitted).

 9 B.       Factual and Procedural Background

10         Over the years, Defendants regularly, knowingly, and intentionally disclosed

11 identifying information about their customers along with information about the

12 “specific titles of the prerecorded videos” those customers requested or obtained to

13 Meta via a programming code known as the Meta Pixel. FAC ¶¶ 1-3, 65.

14         In order to take advantage of targeted advertising services offered by Meta,

15 Defendants intentionally installed the Meta Pixel on their e-commerce websites,

16 including www.gruv.com, where they sell prerecorded videos movies, television

17 shows and more in DVD, Blu-ray, and digital formats. Id. ¶¶ 18, 65. Meta advertises

18 its Metal Pixel as being able to “match [] website visitors to their respective Facebook

19 User accounts” and track the actions that users with Meta accounts take on websites,

20 including actions like adding an item to a shopping cart or making a purchase. Id. ¶¶

21 48-49. The Meta Pixel code systematically transmits to Meta information including
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 1 the unencrypted Facebook IDs (“FIDs”) of each person with a Meta account, detailed

 2 information about the specific video titles that each customer requested or obtained,

 3 and the corresponding URLs where those videos were available for purchase. Id. ¶ 45,

 4 69. Meta’s Business Tools Terms, which every website operator must agree to before

 5 installing the Meta Pixel, state that the Meta Pixel can be used to transmit “Event Data”

 6 and “Contact Information” of website visitors to Meta. Id. ¶¶ 51, 58. “Event Data”

 7 includes things like “information that you [website operators] share about people and

 8 the actions that they take on your websites and apps or in your shops, such as visits to

 9 your sites, installation of your apps, and purchases of your products.” Id. ¶ 54. Meta

10 defines “Contact Information” as “information that personally identifies individuals,

11 such as names, email addresses, and phone numbers.” Id. ¶¶ 50-52 (emphasis added).

12 The Business Tool Terms state that website operators, “instruct us to process the

13 Contact Information solely to match the Contact Information against user IDs

14 (“Matched User IDs”), as well as to combine those user IDs with corresponding Event

15 Data.” Id. ¶ 53. The Metal Pixel can also be configured to send Event Data to Meta,

16 and Defendants have configured the Pixel on their sites to send Event Data to Meta,

17 including “add to cart” requests. Id. ¶ 56.

18         Meta has used the Meta Pixel to amass a vast digital database of highly detailed

19 PII about its billions of users worldwide. Id. ¶ 60. It monetizes this Orwellian database

20 by selling to advertisers the ability to serve highly targeted advertisements to the

21 persons whose personal information has been taken. Id. Websites operators like
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 1 Defendants are able to track visitors to their websites and the actions those visitors

 2 take, including the specific video titles that specific visitors request or obtain from the

 3 websites. Id. ¶ 61. With the information that Defendants transmit to Meta, e.g., their

 4 website visitors’ FIDs and information on the prerecorded video titles they requested

 5 or obtained, any ordinary person can learn the identity of the person to whom the FID

 6 corresponds and thus learn the specific titles that person requested or obtained. Id. ¶

 7 66.

 8         On December 13, 2024, Plaintiff Michael Archer commenced this action to

 9 redress Defendants’ widescale violations of the VPPA. ECF No. 1. On January 16,

10 2025, Plaintiff Todd Cohn filed a separate complaint against Universal Pictures Home

11 Entertainment, LLC, in the U.S. District Court for the Southern District of New York.

12 On February 19, 2025, Plaintiffs jointly filed the FAC in this matter to proceed in a

13 single action against Defendants. On March 5, 2025, Defendants moved to dismiss.

14 ECF No. 25.

15                                 III.   LEGAL STANDARD

16         In considering a motion to dismiss under Federal Rule of Civil Procedure

17 12(b)(6), the Court must “accept all material allegations in the complaint as true and

18 construe them in the light most favorable to” the nonmoving party. N. Star Int'l v.

19 Arizona Corp. Comm’n, 720 F.2d 578, 580 (9th Cir. 1983). To survive dismissal, a

20 plaintiff’s complaint must plead “enough facts to state a claim to relief that is plausible

21 on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A claim has facial
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 1 plausibility when the plaintiff pleads factual content that allows the court to draw the

 2 reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft

 3 v. Iqbal, 556 U.S. 662, 678 (2009). “Determining whether a complaint states a

 4 plausible claim for relief” is “a context-specific task that requires the reviewing court

 5 to draw on its judicial experience and common sense.’” Id. at 679. Dismissal is only

 6 proper under Rule 12(b)(6) when there is “a lack of a cognizable legal theory or the

 7 absence of sufficient facts alleged under a cognizable legal claim.” Hinds Invs., L.P.

 8 v. Angioli, 654 F.3d 846, 850 (9th Cir. 2011) (citation omitted). Under Rule 12(b)(6),

 9 “[t]he party moving for dismissal bears the burden of proving that no claim has been

10 stated.” Retamco Operating, Inc. v. Carone, No. CV 04-2997 CBM (RZX), 2004 WL

11 7338703, at *3 (C.D. Cal. Aug. 27, 2004) (citing Kehr Packages, Inc. v. Fidelcor, Inc.,

12 926 F.2d 1406, 1409 (3d Cir. 1991)).

13                                    IV.    ARGUMENT

14         A “plausible claim” under the VPPA is one that alleges “(1) the defendant is a

15 ‘video tape service provider,’ (2) the defendant disclosed ‘personally identifiable

16 information concerning any customer’ to ‘any person,’ (3) the disclosure was made

17 knowingly, and (4) the disclosure was not authorized by” the statutory exceptions.

18 Mollett v. Netflix, Inc., 795 F.3d 1062, 1066 (9th Cir. 2015). Plaintiffs have clearly

19 and sufficiently alleged all four elements. Defendants challenge only the second and

20 third elements. However, their argument runs contrary to the overwhelming weight of

21 authority as well as the Plaintiffs’ own allegations. The Motion should be denied.
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 1         A.     The FAC sufficiently alleges disclosure of PII.

 2         Defendants argue first that Plaintiffs fail to allege a disclosure of PII. Mot. at 6-

 3 10. Defendants’ theory is that because Defendants configured the tracking tools on

 4 their website to share Plaintiffs’ and other consumers’ video-viewing habits at the

 5 moment they click to add specific videos to their carts and not at the precise time of

 6 checkout, Defendants are not in violation of the VPPA. This “clever workaround” is

 7 not supported by the law and goes against VPPA’s very purpose to protect privacy of

 8 individuals by protecting disclosure of “personally identifiable information” –

 9 information that links the customer or patron to particular materials or services.” S.

10 REP. 599, 7, 1988 U.S.C.C.A.N. 4342-1, 4342-1.

11         Defendants acknowledge that the Ninth Circuit has “construed PII to ‘mean[] …

12 information that would readily permit an ordinary person to identify a specific

13 individual’s video-watching behavior.’” Mot. at 7 (quoting Eichenberger v. ESPN,

14 Inc., 876 F.3d 979, 985 (9th Cir. 2017)); see also In re Hulu Priv. Litig., 86 F. Supp. 3d

15 1090, 1095 (N.D. Cal. 2015) (“[T]he video provider must have knowingly disclosed:

16 1) a consumer’s identity; 2) the identity of “specific video materials”; and 3) the fact

17 that the person identified “requested or obtained” that material.”). Yet, Defendants

18 argue that “[t]he act of placing an item in a real or virtual cart is, at most, information

19 related to the Plaintiffs’ product preferences.” Mot. at 7 (citation and internal quotation

20 marks omitted).

21         But Plaintiffs plainly do not only allege that Defendants shared information
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 1 about what went into visitors’ carts. For example, they allege that “Defendants

 2 disclosed to Meta, inter alia, (1) their FIDs (and all personally identifiable information

 3 associated with their Facebook accounts), (2) the specific titles of the prerecorded

 4 videos that they had requested, and (3) the URLs where the prerecorded videos

 5 requested by them are available for purchase.” FAC ¶ 85. They allege that Defendants

 6 violated their rights under the VPPA by “disclosing Plaintiffs’ [PII] (including their

 7 FIDs, unique identifiers, and the fact that they had requested prerecorded video

 8 material from Defendants’ website) to Meta, a third party.” Id. ¶ 87. And they allege

 9 that the information that Defendants transmit “allows Meta” or “any ordinary person”

10 to “learn the identity of the person to whom the FID corresponds and the subscription

11 or the title of the specific prerecorded video material that the person requested.” Id. ¶¶

12 48, 66.

13         The foregoing allegations are among the reasons why Defendants’ reliance on

14 Cook v. GameStop, Inc., 689 F. Supp. 3d 58 (W.D. Pa. 2023), Mot. at 7, is misplaced.

15 For one thing, Cook involved alleged violations of Pennsylvania’s Wiretapping and

16 Electronic Surveillance Control Act and a related tort, and the court did not even

17 mention the VPPA. But even on the issue of interception of personal information, that

18 case was different. As the court explained:

19                Perhaps more notable than what she allegedly did on GameStop's
                  website is what she did not do. Ms. Cook did not enter any
20                personally identifying information at any point during her
                  interaction. Not her name. Not her address. Not her credit card
21                information. Nothing that could connect her browsing activity
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 1               to her. She also doesn't allege that GameStop did anything to
                 figure out who she was, either. In effect, everything Ms. Cook
 2               did on GameStop’s website was completely anonymous.

 3         Id. at 65–66. As a later court explained, Cook and similar cases “center[ed] their

 4 reasoning on the plaintiffs’ failure to plead that defendants had intercepted personal

 5 information or something beyond mere ‘shopping preferences.’” India Price v.

 6 Carnival Corp., 712 F. Supp. 3d 1347, 1356 (S.D. Cal. 2024) (other citations omitted).1

 7 Defendants might wish that this case were Cook, but it’s not. Plaintiffs have clearly

 8 and coherently alleged how Defendants disclosed information, in connection with

 9 requesting and obtaining products, which connect customer’s identity to the videos

10 requested

11         Defendants do acknowledge that “[a] disclosure that a person added a video title

12 to a shopping cart might reveal information about a specific person and a video title .

13 . . .”) (emphasis added). Mot. at 9. But they then assert that those allegations are not

14 enough because “GRUV couldn’t make that connection at the time of the alleged

15 disclosures, given that they occurred before either Plaintiff requested to purchase or

16 purchased anything.” Mot. at 9. That argument is not persuasive. First, it is not clear

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     At one point, Defendants rely on Cook to try to minimize the significance of their
18 disclosing information about what customers place in their carts: “The act of placing
   an item in a real or ‘virtual cart’ is, ‘at most, information related to the Plaintiffs’
19 product preferences.’” Mot. at 7 (quoting Cook, cleaned up). When dealing with the
   VPPA and consumers transacting with video tape service providers, it is hard to see
20 how “product preferences” fail to relate, if not equate, to the sort of “video-watching
   behavior” that the VPPA was designed to protect.
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 1 why Defendants or Meta or anyone else would have been unable to connect the dots

 2 between a customer’s PII and the specific title that they requested just because the

 3 customer hadn’t yet completed a purchase. As alleged in the FAC, before purchase,

 4 including when a request was made, the information transmitted to Meta included the

 5 “[content_name]” connected to the “AddToCart” request along with the FID that

 6 disclosed the user’s PII. See FAC ¶ 85 (source code snippet). The connection that was

 7 already coherent before the act of purchasing. And the act of purchasing didn’t need

 8 to tell Defendants what they already knew—that the information they transmitted to

 9 Meta Pixel would reveal the connection between the consumer and the video titles they

10 requested or purchased. Otherwise, why bother installing the Meta Pixel in the first

11 place? Second, it is not true that Defendants’ disclosures occurred exclusively before

12 Plaintiffs requested or purchased. As Plaintiffs allege, “whenever Plaintiffs or any

13 other persons requested a prerecorded video . . . (by adding such material to their

14 shopping cart) . . . Defendants disclosed to Meta (inter alia) the specific title of the

15 video material that was requested . . . along with the FID of the person who requested

16 it (which . . . uniquely identified the person).” FAC ¶ 67. In other words, the FAC

17 alleges that the disclosures occurred at the time of request.

18         This takes us to Defendants’ insistence that the “add to cart” action is not a

19 request because it is analogous to “walking around a [video store] with a copy of [a

20 movie] in his or her shopping cart. Mot. at 8. Not so. As the Ninth Circuit

21 acknowledges in Eichenberger, “modern technology may indeed alter—or may
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 1 already have altered—what qualifies under the statute.” 876 F.3d at 986. The FAC

 2 alleges that when a customer clicks an “add to cart” button, they are making a request

 3 from Defendants for that title. FAC ¶ 85. What happens after customers make that

 4 “request” is not as simple as a customer at a brick-and-mortar taking a physical DVD

 5 and putting it into their basket.2 Rather, the click generates a request to gruv.com for

 6 a specific title and that’s when gruv.com takes over, generates a checkout page and

 7 places the requested item in the “cart” for customers. Id. ¶¶ 10, 14, 85. When the user

 8 makes a request to add something to a shopping cart through a click, the website thus

 9 generates an additional page and stores the title there for the user to purchase. The fact

10 that Defendants received the request and acted on it is evidenced by, among other

11 things, the fact that code is generated which is then transmitted it to Meta. Id. That

12 code expressly recognizes an “AddToCart” request has been made. Id. Customers do

13 not and cannot do any of this. Defendants do.3

14
     Even with the brisk-and-mortar store scenario, it’s important to note that it is one
     2
15 thing to walk around with videos in a cart without publicizing to anyone what is in
   one’s cart without assistance from a store employee, and it would be quite another if a
16 cashier at the store forwarded the list to some third-party indicating every video title in
   the customer’s cart along with the customer’s name and other identifying information.
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     An analogous situation at a brick-and-mortar store might be if: a customer walked in
18 the door and a store clerk began the transaction by obtaining the customer’s FID and
   then followed the customer around the store for the entire time, taking notes on every
19 action the customer took; that customer had to request certain titles from the store clerk
   to purchase them; the clerk responded by taking those titles and storing them at a
20 checkout counter designed for that particular customer; and then the clerk immediately
   sent to Meta detailed notes on every observation that the clerk made and every title that
21 the customer requested along with the customer’s FID, pursuant to a pre-existing
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 1         Defendants cite In re Hulu, 86 F. Supp. 3d at 1095 for the proposition that adding

 2 a title to a shopping cart “might reveal information about a specific person and a video

 3 title, but it is missing anything showing a ‘request’ for that video content.” Mot. at 9.

 4 In reality, In re Hulu simply does not say or suggest that adding something to a

 5 shopping cart online is not a “request.” In fact, it didn’t say much about requests at all.

 6 That decision, rendered at the summary judgment stage, dealt with Hulu transmitting

 7 information to Facebook after Hulu’s users engaged with a “Facebook Like button”

 8 that Hulu added to each of its watch pages. Id. at 1093-94. The relevant issue, the

 9 “dispositive point in the case,” id. at 1097, was not whether Hulu’s users had made a

10 “request” (an answer that would be inapposite to this case in any event, since here users

11 weren’t “liking” things but were actually requesting certain titles for purchase), but

12 rather, that there was a “lack of a known connection” between the user’s identity sent

13 in the c_user cookie “and the title of the videos that user watched.” id.

14         In sum, Plaintiffs have clearly alleged the disclosure of PII and information on

15 video titles requested and they’ve clearly alleged that it was done in connection with

16 requests and purchases. Defendants proffer no authority even suggesting otherwise.

17 The Motion should be denied.

18

19
   arrangement between the store and META so that the store could make a profit off of
20 that information. Surely, that would have been the type of violation of privacy that the
   drafters of the VPPA would have found worthy of deterrence.
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 1         B.    Plaintiffs are consumers under the VPPA.

 2         Defendants next argue that Plaintiffs are not consumers within the meaning of

 3 the VPPA. Under the statute, a consumer is “any renter, purchaser, or subscriber of

 4 goods or services from a video tape service provider.” 18 U.S.C. § 2710. Plaintiffs

 5 clearly and repeatedly allege that they purchased goods from Defendants. See, e.g.,

 6 FAC ¶¶ 10 (Plaintiff Archer “requested prerecorded video material from Defendants,”

 7 and “was directed to a checkout screen where he purchased and thus obtained the

 8 requested video”), 14 (the same allegations for Plaintiff Cohn). Defendants do not

 9 contest that they are “video tape service providers.” This should be the end of the

10 inquiry as to whether Plaintiffs are “purchasers” and, accordingly, “consumers.”

11 Defendants attempt to cloud what is a clear answer here, but their attempts fail.

12         Defendants start by discussing Ellis v. Cartoon Network, Inc., 803 F.3d 1251

13 (11th Cir. 2015). Ellis does little to help Defendants’ case. As they acknowledge, Ellis

14 concerned whether the plaintiff was a “subscriber” of Cartoon Network’s video

15 streaming service and therefore a VPPA “consumer.” Mot. at 11 (quoting Ellis, 803

16 F.3d at 1254). Defendants acknowledge that Ellis is not like this case when they point

17 out that the plaintiff in that case “did not purchase or rent anything from the

18 defendant”—unlike the allegations here. See Mot. at 11. It goes without saying then

19 that Ellis offers little guidance on whether Plaintiffs were purchasers for purposes of

20 the VPPA.

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 1         Tawam v. Feld Ent. Inc., 684 F. Supp. 3d 1056 (S.D. Cal. 2023) is inapposite for

 2 the same reason—it involved a plaintiff alleged to be a subscriber. However, even if

 3 Tawam concerned purchasers instead of subscribers, it still wouldn’t do the lifting that

 4 Defendants want it to. Defendants cite Tawam when they make the baffling assertion

 5 that “even if the disclosed ‘add to cart’ actions are ‘requests’ under the VPPA . . . those

 6 disclosures do not ‘concern’ VPPA consumers because they do not reflect any

 7 ‘existence of a factual nexus’ to a video purchase, rental, or subscription.” Mot. at 11

 8 (quoting Tawam, 684 F. Supp. 3d at 1061). It’s not clear how Defendants find support

 9 for that assertion from a reading of Tawam. In Tawam, the plaintiffs had viewed videos

10 on the defendant’s website and then, after the fact, “separately” signed up for the

11 defendant’s “email mailing list.” 684 F. Supp. 3d at 1062. Although the court didn’t

12 expressly say so, it’s clear from a reading of the case that the defendant’s “email list

13 serve,” id. at 1058, was unrelated to the videos that the plaintiffs watched and certainly

14 did not allow them to watch those videos. For example, in that portion of the opinion,

15 the court cited Carter v. Scripps Networks, LLC, No. 22-cv-2031, 670 F.Supp.3d 90,

16 99 (S.D.N.Y. Apr. 24, 2023), where another court found that the plaintiffs’ subscription

17 to the defendant’s newsletter did not enable the plaintiffs to sue because they did not

18 allege that their “status as newsletter subscribers was a condition to accessing the site’s

19 videos, or that it enhanced or in any way affected their viewing experience.” Unlike

20 Tawam or Carter, here the nexus between “the alleged [purchase] and the video content

21 at issue,” Tawam, 684 F. Supp. 3d at 1062, is crystal clear. Plaintiffs do not allege that
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 1 the Defendants video-provider websites do anything other than “advertise, make

 2 available for sale, and sell prerecorded video materials.” FAC ¶ 18. They do not allege

 3 that they could do or did anything else on those websites other than browse, request

 4 and purchase videos. See id. ¶¶ 10-11, 14-15. And finally, they allege that Defendants’

 5 actionable conduct consisted of disclosing, inter alia, Plaintiffs’ unencrypted FID,

 6 information about what items Plaintiffs add to their shopping carts, and detailed

 7 information revealing the titles requested. E.g., id. ¶¶ 45, 49-53. Defendants cite no

 8 decision from any U.S. Court of Appeals pronouncing a requirement of a showing of

 9 a “factual nexus,” much less in cases that involve purchasers instead of subscribers,

10 and while Plaintiffs do not concede that they must show a nexus; one is nonetheless

11 clearly alleged in this case.

12         Seemingly aware that their nexus argument gets them nowhere, Defendants then

13 claim that disclosures cannot form the basis for a violation of the VPPA if the

14 disclosures “occurred before any purchases.” Mot. at 12. They contend that “where a

15 plaintiff becomes a VPPA consumer only after viewing video content and after a

16 defendant allegedly discloses his viewing material to a third party the VPPA does

17 apply.” Id. This argument is just an attempt to rewrite the definition of “consumer”

18 by adding a time constraint to the definition when there is none. Not a single case cited

19 by Defendants supports such a constraint. They cite Tawam (again, a case involving

20 subscribers) where the court found an absence of a nexus between the “actionable video

21 content” and newsletters that the defendant signed up for after the fact. Id. (quoting
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 1 684 F. Supp. 3d at 1062). But totally absent from Tawam was any indication that the

 2 court found in the law or intended to pronounce a bright-line rule about the timing of

 3 disclosures, much less in cases concerning purchasers instead of subscribers. See 684

 4 F. Supp. 3d. at 1061-62 (noting that “a number of courts have held that [a] subscription

 5 must involve some type of commitment, relationship, or association between a person

 6 and an entity”) (emphasis added) (citation and internal quotation marks omitted).

 7         Defendants’ reliance on Rodriguez v. JP Boden Servs. Inc., No. 23-CV-00534-

 8 L-VET, 2024 WL 559228 (S.D. Cal. Feb. 12, 2024), is similarly misplaced. They cite

 9 Rodriquez for the proposition that, “if a plaintiff purchased something from a defendant

10 before an alleged disclosure of video viewing activity but did not make a purchase in

11 connection with the video-related activity, the VPPA does not apply either.” Mot. at

12 12 (citing Rodriquez, 2024 WL 559228, at *3). The court in Rodriquez said no such

13 thing. Rodriguez involved a plaintiff claiming “purchaser” or “subscriber” status.

14 However, the plaintiff did not say when she purchased goods from the retailer. She

15 “simply state[d] that she was a purchaser of goods from Defendant” but didn’t make

16 clear when, and she made “no assertion that she suffered the complained of injury in

17 association with that purchase in the past.” 2024 WL 559228, at *3. It was also

18 “unclear where Plaintiff purchased any goods from the Boden site at the time she

19 viewed the video.” Id. Given those pleading shortcomings, the court found that the

20 plaintiff had not sufficiently alleged she was a purchaser under the VPPA. The court’s

21 holding turned on the fact that she had not alleged that she suffered an injury in
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 1 connection with a purchase. Again, in that case, the court did not suggest some bright-

 2 line rule. And because in this case, the FAC clearly and expressly connects Plaintiffs’

 3 purchases with the prerecorded video materials, Rodriguez is inapposite.

 4         Finally, Defendants suggest the Eichenberger supports the timing requirement

 5 that they try to inject into the statute. It plainly does not. Defendants cite language

 6 from that opinion where the Ninth Circuit endorsed an “ordinary person” test when

 7 asking, “what information did Congress intend to cover as ‘capable of’ identifying an

 8 individual?’” 876 F.3d at 984-85. But as the decision makes clear—including by using

 9 a heading titled “Personally Identifiable Information”—the court there was addressing

10 what constitutes PII, not what constitutes a consumer, a renter, a purchaser, or a

11 subscriber. Eichenberger did not, as Defendants assert, Mot. at 13-14, state that a video

12 service provider must know in advance which shoppers will eventually make a

13 purchase. It explained that an “ordinary person” standard is better suited to the VPPA

14 because a video service provider has to know in advance what types of information

15 qualify as PII. 876 F.3d at 985. Also, the court did not say that not knowing in advance

16 who might purchase something “‘would make the lawfulness of a disclosure depend

17 on circumstances outside of a video service provider’s control.’” Mot. at 13 (quoting

18 id.). It explained that adopting a standard other than an “ordinary person” standard

19 would leave “video service providers with[out] enough guidance” about what

20 information is PII “to comply with the VPPA’s requirements.” 876 F.3d at 985.

21 Eichenberger offers no support to Defendants.
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 1         Finally, Defendants are simply wrong when they assert that a time restriction is

 2 needed because otherwise, “a business cannot know whether a disclosure implicates

 3 the VPPA at the time the disclosure is made because the subject of the disclosure might

 4 later purchase video materials from the defendant.” Mot. at 13. Defendants are able

 5 to determine what sort of disclosures implicate the VPPA for every person who visits

 6 their webpage. A customer making a purchase doesn’t magically convert innocuous

 7 information into actionable PII. Defendants can protect themselves in the shadowy fog

 8 of uncertainty about which of its visitors will ultimately make a purchase by simply

 9 choosing not to make wholesale disclosures of visitors’ personal, private information

10 that violate the law. See FAC ¶ 69 (Defendants could “easily have programmed their

11 websites” to not transmit the relevant information but “chose to program their websites

12 so that all of their customers” information was disclosed). In that way, they’ll have all

13 the certainty they need.

14         C.        Defendants knew that they were making prohibited disclosures.

15              1.     Defendants knew what identifying information they disclosed.

16         Defendants next arguments go to the issue of their knowledge of their

17 disclosures. In part one of this final chapter, Defendants argue—stunningly—that

18 Plaintiffs do not allege that they knew or could have known the identifying information

19 what it disclosed. Mot. at 14-16. More specifically, Defendants’ argument is that they

20 can’t be held liable for transmitting identifying information to Meta because they didn’t

21 look at it before they sent it, and thus they didn’t know that they were sending it.
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 1 Defendants’ argument is disingenuous and, as one would predict, they cite no authority

 2 to support it.

 3         Defendants again rely on Eichenberger and, again, swing but miss. The court

 4 in Eichenberger, applying the “ordinary person” standard that it had just adopted to

 5 determine what constitutes PII, found that the plaintiff had not alleged the disclosure

 6 of PII because “an ordinary person could not use the information that Defendant

 7 allegedly disclosed to identify an individual.” 876 F.3d at 986. More precisely, only

 8 Adobe could match individual Roku device serial numbers with other information

 9 derived from ‘an enormous amount of information’ collected ‘from a variety of

10 sources,’” something that the court found an ordinary person could not do. Id. But the

11 court did not say that a VPPA violator has to have reviewed information prior to its

12 sending for it to be qualify as identifying. And, as relevant here, it expressly left open

13 the possibility that “[a] Facebook link or an email address may very well readily enable

14 an ‘ordinary person’ to identify an individual.” Id. That is nearly exactly the case here,

15 where Plaintiffs have alleged that an “ordinary person could learn the identity” of the

16 person whose Facebook ID was transmitted “simply by accessing the URL

17 www.facebook.com/ and inserting” that ID. FAC ¶ 66; see Smith v. Trinity Broad. of

18 Texas, Inc., No. 8:24-CV-01046-JVS-ADS, 2024 WL 4394557, at *2 (C.D. Cal. Sept.

19 27, 2024) (citing Eichenberger and writing that a Facebook link is PII “that enables an

20 ordinary person to identify an individual”). Unlike Adobe having to cull from an

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 1 “enormous amount of information” from a “variety of sources,” most ordinary internet

 2 users are able to copy and paste text into an address bar and hit the “enter” key.

 3         Lastly, Defendants assert that they have no way of accessing Facebook’s c_user

 4 cookie. Mot. at 15. Being unable to access information once it’s been transmitted is

 5 not the same as not knowing what the information is or that it’s been transmitted. See

 6 Smith, 2024 WL 4394557, at *2 (“[T]he question is whether an ordinary person can

 7 readily identify an individual with the PII, not whether one would in fact do so.”). As

 8 the FAC alleges, e.g., ¶¶ 48, 66, any ordinary person can use an FID number to look

 9 up the identity of the person to whom the FID corresponds and thus associate that user

10 with specific prerecorded material.      The information, therefore, falls within the

11 purview of the act.

12         Defendants erroneously rely on In re Hulu Priv. Litig., No. C 11–03764 LB,

13 2014 WL 1724344, at *1 (N.D. Cal. Apr. 28, 2014). Hulu argued, like Defendants do

14 here, that it did not “knowingly” disclose information to Facebook because the cookies

15 that it transmitted were “‘unintelligible’ and ‘owned by Facebook, and, as a result,

16 Hulu [could not] access that cookie or read information stored in it’ and ‘could not

17 have known what data Facebook was receiving.’” 2014 WL 1724344, at *15. Hulu

18 contended, like Defendants, that “only servers associated with the domain that writes

19 the cookie can access that domain’s cookie.” Id. Thus, Hulu argued, it could not

20 knowingly transmit identifying information. The court rejected this argument. It

21 recognized that Hulu’s complaints about access did “not answer the question about
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 1 what Hulu knew.” Id. “Instead, it only describe[d] how servers can read cookies. Hulu

 2 may not have been able to read Facebook’s cookies, but if it knew what they contained

 3 and knew that it was transmitting PII—that is information that ‘identified a person as

 4 having requested or obtained specific video materials[]—then Hulu is liable under the

 5 VPPA.” Id.; see also Smith, 2024 WL 4394557, at *3 (The “knowingly” “element does

 6 not require plaintiffs to allege that a third party would in fact use this information, but

 7 only that the defendant knowingly disclosed information that could be used to identify

 8 an individual.”).

 9         The fact is, and Plaintiffs allege, that Defendants knew that the Meta Pixel that

10 they chose to install on their sites was disclosing their customers’ PII to Meta. Id. ¶

11 68. They cannot seriously contend otherwise. Meta advertised on its Meta Pixel “Get

12 Started” page that installation of the pixel on a company’s website allows Meta to

13 “match [] website visitors to their respective accounts.” Id. ¶ 48. Meta’s Business

14 Tool Terms, which govern the use of Meta Pixel, state that website operators can use

15 the pixel to transmit “contact information,” which those terms define as “information

16 that personally identifies individuals, such as names, email addresses, and phone

17 numbers.” Id. ¶¶ 50-52. The terms expressly state that, “You instruct us to process the

18 Contract Information solely to match the Contact Information against user IDs [their

19 FIDs], as well as to combine those user IDs with corresponding Event Data.” Id. ¶ 53

20 (emphasis added). It is stupefying that Defendants would install Metal Pixel on their

21 websites fully aware that the Pixel would send to Meta information about all of their
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 1 Facebook-using visitors and then come before the Court and claim that they had no

 2 idea that the Pixel would do exactly what they were told it would do just because they

 3 didn’t sift through the information themselves before it was sent to Meta for

 4 processing. The Court should reject this feigned ignorance defense. See, e.g., Smith,

 5 2024 WL 4394557, at *3 (rejecting the same arguments that Defendants make here,

 6 reasoning that when the defendant installed Meta Pixel, it was “knew the FIDs would

 7 be transmitted by a user’s browser due to its installation of Pixel on their Website”);

 8 Fan v. NBA Properties Inc., No. 23-CV-05069-SI, 2024 WL 1297643, at *2 (N.D. Cal.

 9 Mar. 26, 2024) (“knowingly” element sufficiently alleged because complaint alleged

10 that defendants “chose to install the Meta Tracking Pixel” to enhance advertising and

11 used the data to build audiences and retarget its customers); Ghanaat v. Numerade

12 Labs, Inc., 689 F. Supp. 3d 714, 721 (N.D. Cal. 2023) (“This Court joins others to find”

13 “knowingly” sufficiently alleged because “defendant knowingly used the Pixel, [and]

14 provided FIDs and URLs to Meta.”) (citations omitted).

15            2.    Defendants knew that they disclosed “consumers’” PII.

16         Defendants finally argue that the “FAC does not allege that [they] knew [they

17 were] disclosing information about a statutory ‘consumer,’” because “Plaintiffs do not

18 allege that [Defendants] had any way of knowing whether Plaintiffs were ‘consumers’

19 when they added videos to their carts.” Mot. at 17. Once again, Defendants offer no

20 support for this argument. As the FAC alleges, by choosing to install Meta Pixel on

21 their websites, Defendants programmed those sites to “systematically transmit, via
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 1 ‘Meta Pixel’ technology . . . the [PII] of all of their Facebook-enrolled customers to

 2 Meta.” FAC ¶ 2; see also, e.g., id. ¶ 45 (“[W]henever a Facebook-enrolled consumer

 3 requests a prerecorded video product . . . the Meta Pixel technology that Defendants

 4 intentionally installed on that website transmits to Meta”). Defendants did not choose

 5 to discern between those Facebook-enrolled visitors who just browsed, those who

 6 requested titles, and those who purchased them; they made the choice to transmit data

 7 on all of them. Boxed in by that inconvenient fact, Defendants once again attempt to

 8 graft onto the VPPA a requirement that is not found in the language of the act and not

 9 found in any caselaw. Defendants would like the rule to be that they are absolved of

10 liability under the VPPA if they sent their Facebook-enrolled visitors’ identifying

11 information to Meta and now say, “Yes, but we couldn’t know which of those visitors

12 would buy something!” The fact of the matter is, Defendants didn’t care who would

13 end up buying something—they installed the Meta Pixel on their websites fully aware

14 that it would unlawfully transmit information on all their Facebook-enrolled visitors.

15 They offer no support for the escape hatch that they propose and there is no reason to

16 provide them one.

17         Plaintiffs have more than adequately alleged Defendants’ knowing disclosure.

18 They have adequately alleged that Defendants violated the VPPA. The Motion should

19 be denied.

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 1                                    V.     CONCLUSION

 2         Defendants only challenge whether Plaintiffs have adequately alleged

 3 disclosures of PII “concerning any customer” and that those disclosures were made

 4 knowingly. The FAC is replete with allegations meeting those elements. Defendants

 5 have the burden to show that dismissal is warranted and none of the authorities they

 6 cite direct any other conclusion. Accordingly, Defendants’ motion should be denied

 7 in its entirety.

 8         In the event that the Court grants the motion, Plaintiffs respectfully request leave

 9 to amend.

10 Dated: March 28, 2025                    Respectfully submitted,

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